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                     EXHIBIT I
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Gmail - GrubStreet instructor & consultant resignation                                                                       7/16/20, 3:49 PM




                                                                                       Dawn Dorland <dawndorland@gmail.com>



 GrubStreet instructor & consultant resignation
 Dawn Dorland <dawndorland@gmail.com>                                                       Fri, Aug 31, 2018 at 8:20 AM
 To: Eve Bridburg <eve@grubstreet.org>
 Cc: Ian Chio <ian@grubstreet.org>, Chris Castellani <chris@grubstreet.org>, Alison Murphy <alison@grubstreet.org>

    Dear Eve,

    Thank you.

    Can you explain what you mean by “protecting [my] privacy”? I don’t understand what this refers to, especially
    because my complaint itself had to do with a violation of my privacy. Knowing this might help me better understand the
    process.

    Sincerely,
    Dawn

    On Aug 31, 2018, at 7:42 AM, Eve Bridburg <eve@grubstreet.org> wrote:


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             Eve Bridburg
             Founder and Executive Director


             GrubStreet, Inc
             162 Boylston Street, 5th Floor
             Boston, MA 02116
             617.695.0075
             @grubwriters
             facebook.com/grubwriters




                      On Aug 30, 2018, at 11:40 PM, Dawn Dorland <dawndorland@gmail.com> wrote:

                      Dear Eve, Chris, and Ian,


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                      (cc’ing Alison Murphy, Director of Online Programs and Manuscript Consulting):

                      Effective August 31, 2018, I resign my position as a GrubStreet instructor and manuscript
                      consultant. I took my first GrubStreet course in 2005 and came pretty close to being hired
                      in 2009. In my cover letter for that position I described the rescue that GrubStreet was for
                      me when I found it: born rural and poor, with a no-market master’s degree from Harvard
                      Divinity School, having jumped into advertising to attempt a moneyed life but emerging
                      heart-raw with an ache to pursue work of meaning.

                      The next ten+ years saw me engaged with the GrubStreet staff, instructors and fellow
                      students in serious grappling with both the craft of writing and, as I had done in divinity
                      school, meaning-making. Why do we write? Why do I write? What is the value of my work
                      to others? Who is my writing for? What responsibilities do I have to my fellow writer,
                      reader, stranger, father, friend?

                      I took my writing career seriously because GrubStreet showed me working writers. I took
                      my writing vocation seriously because GrubStreet showed me the power of stories to
                      attune us to the experiences of others. Even earlier, as an ethnographer trying to
                      document sacred experiences, that’s what I had always been curious about and cared
                      about. That’s why in GrubStreet I thought had found the rarest jewel: a community whose
                      facets were cut against the bias of self-interest (which, as Orwell reminds us, all writers
                      have) to reflect a true concern for others and for the Other. Even through those early years
                      of artistic failure, in the GrubStreet community my life always made sense, so long as I
                      was devoted to an aesthetic of empathy.

                      Since that very first seminar with Paul Yoon, I have believed all this time that I was
                      embraced by a community whose organizing principle was to witness, honor, elevate, and
                      —through narrative—transform others’ suffering and, in the process, our own. Finding
                      GrubStreet in my fumbling 20’s was a poetic step in my self-actualization as I rose up from
                      a rural childhood of poverty, abuse, and neglect. The GrubStreet ethos allowed me to
                      believe I could turn my chaotic, painful, and unmoored childhood into an artistic life of
                      connection and beauty. Flexing those muscles of empathy led, in part, to my decision to
                      donate a kidney to a stranger in 2015. Feeling stable and strong in the GrubStreet
                      community, even after moving to DC and then LA, fueled my artistic and political optimism
                      that we can all do more for each other and can be better for it.

                      Now, having brought significant ethics charges against a GrubStreet director for exploiting
                      that gesture, my writing, and my childhood trauma, I was dismayed to pursue an HR
                      process in July—led by Ian, shadowed by Eve—that offered me less than a typical
                      bureaucracy. I was never granted a complainant interview, which I now know is standard
                      for HR best practices. At a writing center devoted to language, Eve and Ian took pains to
                      avoid expressing any sympathy for my experience or the courage it took to bring my
                      claims. Even after your director’s misconduct was substantiated in the press, my halting
                      correspondence with GrubStreet cast me as an annoyance and an adversary when what I
                      am is a victim and one of your own, violated by a director that GrubStreet employs as an
                      advocate for crissakes.

                      When I finally wrote, in early August, that I felt abandoned by GrubStreet in the HR
                      process, I received no response. Complicating a response is, I imagine, the situation that
                      members of the GrubStreet staff and board, knowingly or unknowingly, abetted this
                      misconduct. Even to the extent that others’ involvement was unwitting, those who
                      participated in shaping and nurturing fiction whose inspiration drew so obviously from my
                      own life—a story whose writer seemed to care nothing about risking her personal or
                      professional relationships with me (red flag)—decided, without access to the raw
                      materials, that the use of my life and my writing in someone else’s short story was above-
                      board, free game, fair. The choice to support a story written in a so-called gray area, while
                      extending none of that gray to me, obscured in this case an actual theft. Theft aside, what

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                      your director and her enablers did was to privilege a self-interested artistic freedom over
                      empathy, which is simply not what I thought we were doing here!

                      Even after the Boston Globe published additional reporting in early August substantiating
                      all of my charges (and answering questions germane to my HR complaint re: my
                      plagiarist’s motivation and timing), GrubStreet continued to communicate with me as if I
                      should slink away, be quiet, be ashamed. But I am not ashamed. GrubStreet has said to
                      the press that the situation is too complicated for comment. I am here to tell you that any
                      situation demanding courage is going to be complicated, as it has also been for me.

                      I offer my resignation today harboring concerns about GrubStreet’s commitment to
                      community and transparency, now doubting your willingness to lead on important issues
                      such as ethical and legal misconduct between writers. I am dismayed, disappointed and,
                      yes, surprised to see the leadership of GrubStreet mired in a sinkhole of reputation or, I
                      imagine, stuck on someone otherwise being a good person. It is wholly natural to want to
                      protect a friend and/or colleague when they hurt someone else; like nepotism, however, its
                      being understandable does not make it ethical or professional when you enjoy a position
                      of power.

                      I communicate all of this as someone who has held myself accountable in an extreme
                      sense to values shaped by GrubStreet. When I learned that people needed kidneys, I
                      responded in the way—I can see this now—that I wished my neighbors and my teachers
                      had responded to the evidence of my abuse, an intervention and/or acknowledgment that
                      my siblings and I desperately needed. There I was, waiting for someone to say what I’d
                      endured was wrong, to be moved by empathy, to do something or see me. I have waited
                      in vain for other writers to make such gestures now.

                      Effective with my resignation, I ask that you remove my photo and bio from the GrubStreet
                      website and request that you omit my name and particulars from GrubStreet promotional
                      materials and mailing lists, including fundraising. I ask this with a heavy heart and a sense
                      of surreality but an equally abiding sense of principle. I no longer wish to associate with an
                      organization that elevates, even monetizes, empathy as an artistic goal but whose leaders
                      do not practice it within their own community.

                      As someone whom you have observed building my entire writing life, for years now,
                      around GrubStreet—someone who has donated my money and time and even cheer-led
                      your organization from afar as a self-described “Grubbie expat”—please excuse any
                      presumption or contempt that you sense in my tone. I assure you that it is not contempt at
                      all but a great grief that I am still mourning.

                      Sincerely,

                      Dawn Dorland, MTS, MFA
                      Los Angeles

                      I check email once daily at noon.




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